Exhibit 10
                              CERTIFICATE OF TRANSLATION


I, Bingjie Liu, an attorney licensed in the State of New York (United States) and a court-certified

interpreter of the State Court of the State of New York, am competent to translate from Chinese

into English, and certify that the translation of documents attached to this certificate is true and

accurate to the best of my abilities.




_________________________

Bingjie Liu



Date: 6/22/2023
                           Beijing NetQin Tianxia Technology Co., Ltd
                                     Shareholder Resolution


On July 22, 2019, Beijing NetQin Tianxia Technology Co., Ltd at Beijing City, Xicheng District
Guanganmennei Avenue, No. 338, Gangzhonglv Building, Floor 3 South Direction, held NetQin
Tianxia Technology Co., Ltd’s first Extraordinary Shareholders’ Meeting in 2019.

Two shareholders attended the meeting, and the participating shareholders held 66.75% of the
company’s shares. After the shareholders vote, with 1 vote for, 1 vote against, 0 abstentions, the
proportion of shares in favor of more than 50% passed the resolution as follows.

   1. Establish a new board of directors with Lingyun Guo, Lilin Guo, and Yuesheng Zhou;
   2. Appointed Bing Wang as the company’s Supervisor.

(This resolution is made in three copies, one for each of the Company and the participating
shareholders)

Shareholders’ signatures

[Signature – Lingyun Guo]


                                                              Date: July 22, 2019


[handwriting: Wenyongshi: I object to all above resoutions]

[Signature – Wenyong Shi]
                           Beijing NetQin Tianxia Technology Co., Ltd
                                   Board of Director Resolution


On July 22, 2019, Beijing NetQin Tianxia Technology Co., Ltd at Beijing City, Xicheng District
Guanganmennei Avenue, No. 338, Gangzhonglv Building, Floor 3 South Direction, held NetQin
Tianxia Technology Co., Ltd’s Board of Directors’ Meeting. The actual number of directors
present was 3. The Board of Directors' meeting was held in accordance with the Company Law
of the People's Republic of China, relevant laws and regulations and the Articles of Association
of the Company.

The participating directors voted 3 in favor, 0 against and 0 abstained to form the following
resolution：

   1. Elected Lilin Guo as the chairman of the company, and to be the company’s legal
      representative
   2. Hired Lilin Guo as the company’s main manager.


Signatures of Directors:


[signature-Lingyun Guo]
[signature-Lilin Gu]
[signature-Yuesheng Zhou]
